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                     UNITED STATES COURT OF APPEALS                         FILED
                               FOR THE NINTH CIRCUIT                        MAR 19 2019
                                                                        MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS
In re: THE GEO GROUP, INC.                        No.    19-70014
______________________________
                                                  D.C. No. 3:17-cv-05806-RJB
THE GEO GROUP, INC.,                              Western District of Washington,
                                                  Tacoma
                 Petitioner,
                                                  ORDER
 v.

UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF
WASHINGTON, TACOMA,

                 Respondent,

STATE OF WASHINGTON,

                 Real Party in Interest.

Before: SILVERMAN, TALLMAN, and MURGUIA, Circuit Judges.

      This petition for a writ of mandamus raises issues that warrant an answer.

See Fed. R. App. P. 21(b). Accordingly, within 14 days after the date of this order,

the real party in interest shall file an answer. In particular, the answer shall address

why petitioner’s financial information is relevant to the real party in interest’s

claim for unjust enrichment.

      The district court, within 14 days after the date of this order, may address the

petition if it so desires. The district court may elect to file an answer with this



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court or to issue an order and serve a copy on this court. Petitioner may file a reply

within 5 days after service of the answer. The petition, answer, and any reply shall

be referred to the next available motions panel.

      The Clerk shall serve this order on the district court and District Judge

Robert J. Bryan.




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